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                                 Southern                    Indiana


Spears Jamie Lynn


Jamie L. Shafer



                  7219

629 E. Jackson St.
Shelbyville, IN 46176




    Shelby

629 E. Jackson St.
Shelbyville, IN 46176




x



x
                                                 x



x
                                                 x




x



     x



    x



             x
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                                         Spears Jamie Lynn




                                           x




/s/Jamie Spears




    10-11-05

/s/Richard Batesky,Jr.

Richard Batesky

Law Office Richard Batesky

22 E. Washington St. #610

Indianapolis, IN 46204

317-638-3471

    10-11-05




/s/Richard Batesky,Jr.
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                                   Southern                 Indiana


     Spears Jamie Lynn
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                 Form B6 SUM W (11-95)

 UNITED STATES BANKRUPTCY COURT Southern                                                        DISTRICT OF Indiana
 In re: Spears       Jamie Lynn
                                                                                         Debtor(s) Case No.


    See summary below for the list of schedules. Include Unsworn Declaration under Penalty of Perjury at the end.


      GENERAL INSTRUCTIONS: Schedules D, E and F have been designed for the listing of each claim only once. Even when a claim is secured
only in part, or entitled to priority only in part, it still should be listed only once. A claim which is secured in whole or in part should be listed on
Schedule D only, and a claim which is entitled to priority in whole or in part should be listed in Schedule E only. Do not list the same claim twice.
If a creditor has more than one claim, such as claims arising from separate transactions, each claim should be scheduled separately.

    Review the specific instructions for each schedule before completing the schedule.



                                                        SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from
Schedules D, E, and F to determine the total amount of the debtor's liabilities.



                       Attached (Yes/No)          Number of Sheets                          Amounts Scheduled

          Name of Schedule                                       Assets                        Liabilities                       Other

 A - Real Property                          x     1                         0.00

 B - Personal Property                      x     5                   2300.00

 C - Property Claimed as Exempt             x     1

 D - Creditors Holding Secured Claims       x     1                                                          0.00

 E - Creditors Holding Unsecured            x     1                                                          0.00
     Priority Claims


 F - Creditors Holding Unsecured            x     8
     Nonpriority Claims                                                                             72814.48

 G - Executory Contracts and
    Unexpired Leases                        x     1

 H - Codebtors                              x    1

 I - Current Income of                                                                                                                 2019.20
     Individual Debtor(s)                   x    1

 J - Current Expenditures of
     Individual Debtor(s)                   x    1                                                                                     2025.00

    Total Number of Sheets of All Schedules 21

                                         Total Assets                  2300.00

                                                                  Total Liabilities                 72814.48
      Case 05-26778-AJM-7           Doc 1   Filed 10/12/05         EOD 10/12/05 20:47:36                 Pg 5 of 36

           Form B6 A W (12-98)


In re:Spears   Jamie Lynn                                                Debtor(s) Case No.                              (if known)


                                     SCHEDULE A - REAL PROPERTY
                                                                                 CURRENT MARKET
                                            NATURE OF DEBTOR'S          H       VALUE OF DEBTOR'S           AMOUNT OF
   DESCRIPTION AND LOCATION OF PROPERTY     INTEREST IN PROPERTY        W     INTEREST IN PROPERTY        SECURED CLAIM
                                                                        J      WITHOUT DEDUCTING
                                                                        C       ANY SECURED CLAIM
                                                                                  OR EXEMPTION




                                                                                                     (Report also on Summary of
                                                                   Total ->
                                                                                                     Schedules)
         Case 05-26778-AJM-7                 Doc 1       Filed 10/12/05           EOD 10/12/05 20:47:36                Pg 6 of 36

                Form B6 B W (11-95)

In re:   Spears Jamie Lynn                                                           Debtor(s)   Case No.                           (if known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                        CURRENT MARKET
                                            N                                                                    W     VALUE OF DEBTOR'S
                                            O                                                                    H        INTEREST IN
         TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY                        J     PROPERTY WITHOUT
                                            N
                                                                                                                         DEDUCTING ANY
                                            E                                                                    C
                                                                                                                       SECURED CLAIM OR
                                                                                                                           EXEMPTION

 01 Cash on hand                                x

 02 Checking, savings or                        x
    other financial
    accounts,
    certificates of
    deposit, or shares in
    banks, savings and
    loan, thrift,
    building and loan,
    and homestead
    associations, or
    credit unions,
    brokerage houses, or
    cooperatives.

 03 Security Deposits                           x
    with public
    utilities, telephone
    companies, landlords
    and others.

 04 Household goods and
    furnishings including
    audio, video, and
    computer equipment.
                                                    misc. furniture                                                        2,000.00
 05 Books; pictures and                         x
    other art objects;
    antiques; stamp,
    coin, record, tape,
    compact disc, and
    other collections or
    collectibles.

 06 Wearing apparel.
                                                    clothing                                                                  100.00




         (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules) Total ->           2,100.00
_________ Continuation sheets attached
         Case 05-26778-AJM-7                 Doc 1       Filed 10/12/05           EOD 10/12/05 20:47:36                Pg 7 of 36

                Form B6 B W (11-95)

In re:   Spears Jamie Lynn                                                           Debtor(s)   Case No.                           (if known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                        CURRENT MARKET
                                            N                                                                    W     VALUE OF DEBTOR'S
                                            O                                                                    H        INTEREST IN
         TYPE OF PROPERTY                           DESCRIPTION AND LOCATION OF PROPERTY                         J     PROPERTY WITHOUT
                                            N
                                                                                                                         DEDUCTING ANY
                                            E                                                                    C
                                                                                                                       SECURED CLAIM OR
                                                                                                                           EXEMPTION

 07 Furs and jewelry.                           x

 08 Firearms and sports,                        x
    photographic and
    other hobby
    equipment.

 09 Interests in                                x
    insurance policies.
    Name insurance
    company of each
    policy and itemize
    surrender or refund
    value of each.

 10 Annuities. Itemize                          x
    and name each issuer.

 11 Interests in IRA,                           x
    ERISA, Keogh, or
    other pension or
    profit sharing plans.
    Itemize.

 12 Stock and interest in                       x
    incorporated and
    unincorporated
    businesses. Itemize.

 13 Interest in                                 x
    partnerships or joint
    ventures. Itemize.

 14 Government and                              x
    corporate bonds and
    other negotiable and
    non-negotiable
    instruments.




         (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules) Total ->           2,100.00
_________ Continuation sheets attached
         Case 05-26778-AJM-7                 Doc 1       Filed 10/12/05           EOD 10/12/05 20:47:36                Pg 8 of 36

                Form B6 B W (11-95)

In re:   Spears Jamie Lynn                                                           Debtor(s)   Case No.                           (if known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                        CURRENT MARKET
                                            N                                                                    W     VALUE OF DEBTOR'S
                                            O                                                                    H        INTEREST IN
         TYPE OF PROPERTY                           DESCRIPTION AND LOCATION OF PROPERTY                         J     PROPERTY WITHOUT
                                            N
                                                                                                                         DEDUCTING ANY
                                            E                                                                    C
                                                                                                                       SECURED CLAIM OR
                                                                                                                           EXEMPTION

 15 Accounts receivable.                        x

 16 Alimony, maintenance,                       x
    support, and property
    settlements to which
    the debtor is or may
    be entitled. Give
    particulars.

 17 Other liquidated                            x
    debts owing debtor
    including tax
    refunds. Give
    particulars.

 18 Equitable or future                         x
    interests, life
    estates, and rights
    or powers exercisable
    for the benefit of
    the debtor other than
    those listed in
    Schedule of Real
    Property.

 19 Contingent and                              x
    non-contingent
    interests in estate
    of a decedent, death
    benefit plan, life
    insurance policy or
    trust.




         (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules) Total ->           2,100.00
_________ Continuation sheets attached
         Case 05-26778-AJM-7                 Doc 1       Filed 10/12/05           EOD 10/12/05 20:47:36                Pg 9 of 36

                Form B6 B W (11-95)

In re:   Spears Jamie Lynn                                                           Debtor(s)   Case No.                           (if known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                        CURRENT MARKET
                                            N                                                                    W     VALUE OF DEBTOR'S
                                            O                                                                    H        INTEREST IN
         TYPE OF PROPERTY                            DESCRIPTION AND LOCATION OF PROPERTY                        J     PROPERTY WITHOUT
                                            N
                                                                                                                         DEDUCTING ANY
                                            E                                                                    C
                                                                                                                       SECURED CLAIM OR
                                                                                                                           EXEMPTION

 20 Other contingent and                        x
    unliquidated claims
    of every nature,
    including tax
    refunds,
    counterclaims of the
    debtor and rights to
    setoff claims. Give
    estimated value of
    each.

 21 Patents, copyrights,                        x
    and other general
    intellectual
    property. Give
    particulars.

 22 Licenses, franchises,                       x
    and other general
    intangible. Give
    particulars.

 23 Automobiles, trucks,
    trailers, and other
    vehicles and
    accessories.
                                                    1983 Thunderbird                                                          200.00
 24 Boats, motors, and                          x
    accessories.

 25 Aircraft and                                x
    accessories.

 26 Office equipment,                           x
    furnishings, and
    supplies.




         (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules) Total ->           2,300.00
_________ Continuation sheets attached
         Case 05-26778-AJM-7                Doc 1       Filed 10/12/05           EOD 10/12/05 20:47:36                 Pg 10 of 36

                Form B6 B W (11-95)

In re:   Spears Jamie Lynn                                                           Debtor(s)   Case No.                            (if known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                        CURRENT MARKET
                                            N                                                                    W     VALUE OF DEBTOR'S
                                            O                                                                    H        INTEREST IN
         TYPE OF PROPERTY                           DESCRIPTION AND LOCATION OF PROPERTY                         J     PROPERTY WITHOUT
                                            N
                                                                                                                         DEDUCTING ANY
                                            E                                                                    C
                                                                                                                       SECURED CLAIM OR
                                                                                                                           EXEMPTION

 27 Machinery, fixtures,                        x
    equipment, and
    supplies used in
    business.

 28 Inventory.                                  x

 29 Animals.                                    x

 30 Crops-growing or                            x
    harvested. Give
    particulars.

 31 Farming equipment and                       x
    implements.

 32 Farm supplies,                              x
    chemicals and feed.

 33 Other personal                              x
    property of any kind
    not already listed.
    Itemize.




         (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules) Total ->           2,300.00
_________ Continuation sheets attached
    Case 05-26778-AJM-7                              Doc 1            Filed 10/12/05                    EOD 10/12/05 20:47:36                 Pg 11 of 36

                Form B6 C W (11-95)

In re: Spears       Jamie Lynn                                                                                 Debtor(s) Case No.                        (if known)


                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor elects the exemptions to which debtor is entitled under (Check one box).
    11 U.S.C. § 522(b)(1): Exceptions provided in U.S.C. § 522(d). Note: These exceptions are available only in certain states.

X   11 U.S.C. § 522(b)(2): Exceptions available under applicable nonbankruptcy federal laws, state or local law.

                                                                                                                                               CURRENT MARKET
                                                                                  SPECIFY LAW                              VALUE OF CLAIMED   VALUE OF PROPERTY
         DESCRIPTION OF PROPERTY                                                 PROVIDING EACH                               EXEMPTION       WITHOUT DEDUCTING
                                                                                   EXEMPTION                                                      EXEMPTION

 misc. furniture                                                   ICA § 34-55-10-2(b)(2)                                         2,000.00         2,000.00
                                                                   Other Real Estate or
                                                                   Tangible Personal
                                                                   Property


 clothing                                                          ICA § 34-55-10-2(b)(2)                                           100.00            100.00
                                                                   Other Real Estate or
                                                                   Tangible Personal
                                                                   Property


 1983 Thunderbird                                                  ICA § 34-55-10-2(b)(2)                                           200.00            200.00
                                                                   Other Real Estate or
                                                                   Tangible Personal
                                                                   Property
          Case 05-26778-AJM-7                            Doc 1             Filed 10/12/05         EOD 10/12/05 20:47:36            Pg 12 of 36

                  Form B6 D W (12/03)

In re:   Spears Jamie Lynn                                                                             Debtor(s) Case No.


                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
 x       Check this box if debtor has no creditors holding secured claims to report on this Schedule D

           CREDITOR'S NAME AND MAILING                        CO H         DATE CLAIM WAS INCURRED,            AMOUNT OF CLAIM                   C
           ADDRESS INCLUDING ZIP CODE                          D              NATURE OF LIEN, AND                                  UNSECURED
                                                                 W                                            WITHOUT DEDUCTING
                                                                                                                                    PORTION IF
                                                                                                                                                 U
              AND ACCOUNT NUMBER                               E            DESCRIPTON AND MARKET                  VALUE OF
                                                               B J            VALUE OF PROPERTY                                       ANY        D
                    (See Instructions)                                                                            COLLATERAL                     *
                                                               T C              SUBJECT OF LIEN
  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




  A/C #                                                                    VALUE $




                                                                                               Subtotal ->
                                                                                       (Total of this page)
                                                                                               Total ->
                Continuation Sheets attached. (use only on last page of the completed Schedule D.)

*If contingent, enter C; if unliquidated, enter U; if disputed, enter D.             (Report total also on Summary of Schedules)
         Case 05-26778-AJM-7                         Doc 1          Filed 10/12/05                EOD 10/12/05 20:47:36                          Pg 13 of 36

                  Form B6 E W (Rev 4/04)


In re:   Spears Jamie Lynn                                                                                Debtor(s) Case No.                                        (if known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPE OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

         Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
         appointment of a trustee or the order for relief. 11 U.S.C § 507(a)(2).

         Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees, up to a maximum of $4925 per
         employee, earned within 90 days immediately preceding the filing of the original petition, or the cessation of business, whichever occured first, to the
         extentprovided in 11 U.S.C. § 507(a)(3)
         Contributions to employee benefit plans
         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
         cessation of business, whichever occured first, to the extent provided in 11 U.S.C. § 507(a)(4).
         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to a maximum of $4925 per farmer or fisherman, against the debtor, as provided in 11 U.S.C. §
         507(a)(5).
         Deposits by individuals
         Claims of individuals up to a maximum of $2225 for deposits for the purchase, lease, or rental of property or services for personal, family, or
         household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6)
         Alimony, Maintenance, or Support
         Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in U.S.C. § 507(a)(7).
         Taxes and Certain Other Debts Owed to Governmental Units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(7).
         Commitments to Maintain the Capital of an Insured Depository Institution
      Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
      of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
      (a)(8).
*Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                           CO H             DATE CLAIM WAS
         CREDITOR'S NAME AND MAILING                        D                                                         TOTAL                     AMOUNT              C
         ADDRESS INCLUDING ZIP CODE                         E W              INCURRED AND                            AMOUNT                   ENTITLED TO           U
                                                              J              CONSIDERATION
               (See Instructions)                           B                                                        OF CLAIM                   PRIORITY            D
                                                            T C                FOR CLAIM                                                                            *




                                                                                           Subtotal ->
                                                                                   (Total of this page)
         x   Continuation Sheets attached.                                        Total ->
                                      (use only on last page of the completed Schedule E.)
*If contingent, enter C; if unliquidated, enter U; if disputed, enter D. (Report total also on Summary of Schedules)
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 14 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2004                                                                                                        500.00
                                                                                               loan
 Advance Cash
 1304 W. Main
 Greensburg, IN 47240


                                                                                               2003                                                                                                        200.00
                                                                                               insurance fees
 American Family Ins.
 128 W. Norm St.
 Greensburg, IN 47240


                                                                                               2004                                                                                                        250.00
                                                                                               rental
 American Rental
 1036 N. Lincoln
 Greensburg, IN 47240


                                                                                               2005                                                                                                     6,700.00
                                                                                               apt. lease
 Andy Smith
 address unknown



                                                                                               2004                                                                                                         51.00
                                                                                               consumer debt
 Blockbuster
 450 A. Greensburg Common
 Greensburg, IN 47240


                                                                                               2004                                                                                                         33.80
                                                                                               NSF
 Blooming Ballons
 24118 E. 44 Plaza
 Shelbyville, IN 46176


                                                                                                                                    Subtotal                                        $              7,734.80
                                                                                                                                    Total                                           $              7,734.80
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 15 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2001                                                                                                     1,300.00
                                                                                               apt. lease
 Briar Wood Estates
 810 W. Broadway
 Greensburg, IN 47240


                                                                                               2003                                                                                                     5,000.00
                                                                                               medical bill
 Cincinnati Children Hospi
 address unknown



                                                                                               2004                                                                                                        437.49
                                                                                               utility service
 Cinergy
 P.O. Box 740399
 Cincinnati, OH 47294


                                                                                               2002                                                                                                    18,212.49
                                                                                               medical bill
 Collection Associates
 P.O. Box 349
 Greensburg, IN 47240


                                                                                               2000                                                                                                     1,500.00
                                                                                               fees
 Country Squire Lakes
 address unknown



                                                                                               2000                                                                                                        774.43
                                                                                               medical bill
 Credit Bureau of Shelby C
 P.O. Box 432
 Shelbyville, IN 46176


                                                                                                                                    Subtotal                                        $              27,224.41
                                                                                                                                    Total                                           $              34,959.21
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 16 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2003                                                                                                     2,600.00
                                                                                               repossessed vehicle
 DW Auto Sales
 502 N. State Road 3
 Westport, IN 47283


                                                                                               2000                                                                                                     1,500.00
                                                                                               apt. lease
 Daller Done
 2230 W. 550 S.
 Columbus, IN 47201


                                                                                               5-01                                                                                                     2,000.00
                                                                                               Cause No.:
 Decatur Superior Court 1                                                                      16D01-0501-SC-006
 150 Courthouse Sq.
 Greensburg, IN 47240


                                                                                               2000                                                                                                     4,000.00
                                                                                               medical bill
 Dr. Jim Broughton
 981 St Road 45 E
 Batesville, IN 47005


                                                                                               2000                                                                                                     1,000.00
                                                                                               medical bill
 Dr. Muncle
 955 N. Michigan
 Greensburg, IN 47240


                                                                                               2004                                                                                                         33.80
                                                                                               movie fees
 Family Video
 809 S. Harrison
 Shelbyville, IN 46176


                                                                                                                                    Subtotal                                        $              11,133.80
                                                                                                                                    Total                                           $              46,093.01
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 17 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2004                                                                                                        350.00
                                                                                               NSF
 Fifth Third Bank
 1801 N. Greensburg Crossi
 Greensburg, IN 47240


                                                                                               2000                                                                                                     2,000.00
                                                                                               consumer debt
 Fingerhut
 P.O. Box 799
 St. Cloud, MN 56702


                                                                                               2000                                                                                                        218.23
                                                                                               medical bill
 Gentle Dentist
 1815 N. Greensburg Crossi
 Greensburg, IN 47240


                                                                                               2003                                                                                                     6,045.55
                                                                                               medical bill
 Greensburg Hospital
 720 N. Lincoln
 Greensburg, IN 47240


                                                                                               2001                                                                                                         15.00
                                                                                               fees
 Greensburg Library
 1110 E. Main
 Greensburg, IN 47240


                                                                                               2004                                                                                                        200.00
                                                                                               utility
 Greensburg Water
 314 N. Michigan St.
 Greensburg, IN 47240


                                                                                                                                    Subtotal                                        $              8,828.78
                                                                                                                                    Total                                           $              54,921.79
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 18 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2004                                                                                                        150.00
                                                                                               NSF
 Harvet Supermarket
 920 W. 4th St.
 Greensburg, IN 47240


                                                                                               2000                                                                                                     1,200.00
                                                                                               apt. lease
 Hillcrest Apt.
 1923 N. Carver
 Greensburg, IN 47240


                                                                                               2004                                                                                                        189.00
                                                                                               consumer debt
 Hollywood Vidoe
 405 E. Freeland Road
 Greensburg, IN 47240


                                                                                               2002                                                                                                        214.22
                                                                                               medical bill
 IEI
 P.O. Box 42788
 Indianapolis, IN 46242


                                                                                               2004                                                                                                        354.98
                                                                                               cable bill
 Insight
 2450 S. Henderson
 Bloomington, IN 47401


                                                                                               2004                                                                                                        200.00
                                                                                               service fees
 Karen Sticker
 525 S. Broadway
 Greensburg, IN 47240


                                                                                                                                    Subtotal                                        $              2,308.20
                                                                                                                                    Total                                           $              57,229.99
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 19 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2004                                                                                                        100.00
                                                                                               service fees
 Karen Woodall
 address unknown



                                                                                               2001                                                                                                     2,500.00
                                                                                               apt. lease
 Larry Armond
 3470 W. Broadus
 N. Vernon, IN 47265


                                                                                               2004                                                                                                     4,000.00
                                                                                               medical bill
 Major Hospital
 P.O. Box 712395
 Cincinnati, OH 45271


                                                                                               2001                                                                                                     1,000.00
                                                                                               lease
 Merita Werner
 1007 N. Tralan
 Greensburg, IN 47240


                                                                                               2004                                                                                                         98.98
                                                                                               movie fees
 Movie Gallery
 1019 E. State Road 44
 Shelbyville, IN 46176


                                                                                               2003                                                                                                        350.00
                                                                                               loan
 National Check Advance
 address unknown



                                                                                                                                    Subtotal                                        $              8,048.98
                                                                                                                                    Total                                           $              65,278.97
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 20 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2000                                                                                                     3,600.00
                                                                                               vehicle repossessed
 Performance Auto Sales
 address unknown



                                                                                               2002                                                                                                        250.00
                                                                                               NSF
 Pizza King
 1005 N. Lincoln
 Greensburg, IN 47240


                                                                                               2003                                                                                                        190.00
                                                                                               medical bill
 Primary Care
 718 N. Lincoln St.
 Greensburg, IN 47240


                                                                                               2004                                                                                                         50.00
                                                                                               NSF
 Raindrop Roses
 530 E. Broadway
 Shelbyville, IN 46176


                                                                                               2004                                                                                                        200.00
                                                                                               rental bill
 Rent A Center
 620 Greensburg Common Cnt
 Greensburg, IN 47240


                                                                                               2000                                                                                                        150.00
                                                                                               apt. lease
 Sarah Hogg
 2126 N. Gate
 Greensburg, IN 47240


                                                                                                                                    Subtotal                                        $              4,440.00
                                                                                                                                    Total                                           $              69,718.97
                                                                                 x              continuation sheets attached.
   Case 05-26778-AJM-7                             Doc 1                             Filed 10/12/05                    EOD 10/12/05 20:47:36                                                       Pg 21 of 36
            FORM B6F(Official Form6F) (12/03)

Debtor Spears        Jamie Lynn
 In re:                                                                                                                              Case No.


        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.




                                                                                                                                                           U N L I QU I D A T E D
                                                                                                                                       C ON T I N G EN T
                                                                         HU S B A N D WI F E
                                                         C OD E B T OR



                                                                          COM M U N I T Y




                                                                                                                                                                                    D I S PUT ED
                                                                            J OI NTE R
        CREDITOR'S NAME AND                                                                       DATE CLAIM WAS INCURRED                                                                             AMOUNT
          MAILING ADDRESS                                                                       AND CONSIDERATION FOR CLAIM.                                                                            OF
         INCLUDING ZIP CODE                                                                         IF CLAIM IS SUBJECT TO                                                                             CLAIM
        AND ACCOUNT NUMBER                                                                             SETOFF, SO STATE.
           (See Instructions)

                                                                                               2004                                                                                                         23.50
                                                                                               late fees
 Shelby Co. Library
 51 W. Broadway
 Shelbyville, IN 46176


                                                                                               2005                                                                                                     2,000.00
                                                                                               Cause No.:
 Shelby Superior 2                                                                             73D02-0505-SC-911
 407 S. Harrison St.
 Shelbyville, IN 46176


                                                                                               2004                                                                                                        100.00
                                                                                               video fees
 Sunset Video
 308 N. St. Road 3
 Westport, IN 47283


                                                                                               2004                                                                                                        350.00
                                                                                               utility service
 Vectren
 P.O. Box 6248
 Indianapolis, IN 46274


                                                                                               2000                                                                                                        472.01
                                                                                               cell bill
 Verizon
 P.O. Box 64724
 St. Paul, MN 75164


                                                                                               2000                                                                                                        150.00
                                                                                               insurance fees
 Whitkamper
 104 E. 10th
 Greensburg, IN 47240


                                                                                                                                    Subtotal                                        $              3,095.51
                                                                                                                                    Total                                           $              72,814.48
                                                                                                continuation sheets attached.
      Case 05-26778-AJM-7                       Doc 1         Filed 10/12/05       EOD 10/12/05 20:47:36        Pg 22 of 36

              Form B6 G W (11-95)


In re: Spears    Jamie Lynn                                                            Debtor(s) Case No.               (if known)

          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 x   Check this box if debtor has no executory contracts or unexpired leases.

                                                                                DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                            DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
          OF OTHER PARTIES TO LEASE OR CONTRACT.                                 NONRESIDENTIAL REAL PROPERTY, STATE CONTRACT
                                                                                     NUMBER OF ANY GOVERNMENT CONTRACT.
      Case 05-26778-AJM-7                  Doc 1   Filed 10/12/05   EOD 10/12/05 20:47:36     Pg 23 of 36

                 Form B6 H W (11/95)


In    Spears Jamie Lynn
                                                                        Debtor(s) Case No.
re:


                                             SCHEDULE H - CODEBTORS
x     Check this box if debtor has no codebtors
               NAME AND ADDRESS OF CODEBTOR                            NAME AND ADDRESS OF CREDITOR
      Case 05-26778-AJM-7                               Doc 1            Filed 10/12/05                    EOD 10/12/05 20:47:36                                Pg 24 of 36

                  Form B6 I W (11-95)



In Spears         Jamie Lynn                                                                                        Debtor(s) Case No.
re:

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                               DEPENDENTS OF DEBTOR AND SPOUSE
Debtor's Marital Status            RELATIONSHIP                                                                                                                 AGE
Divorced                          son                                                                                                                           6
                                  daughter                                                                                                                      4


 Employment                                                         DEBTOR                                                                        SPOUSE
 Occupation CSM
 Name of Employer             Tri State Staffing
 How long employed             7 years
 Address of Employer
 Shelbyville



 Income: (Estimate of average monthly income)

 Current monthly gross wages, salary,and commissions (pro rate if not paid monthly.)                                     $             2400.00           $
 Estimate monthly overtime
 SUBTOTAL                                                                                                                $             2400.00           $             0.00
   LESS PAYROLL DEDUCTIONS
   a. Payroll taxes and social security                                                                                                   380.80
   b. Insurance
   c. Union dues
   d. Other (Specify)




     SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                      $              380.80           $             0.00
 TOTAL NET MONTHLY TAKE HOME PAY                                                                                                       2019.20           $             0.00

 Regular income from operation of business or profession or farm
 (attach detailed statement)
 Income from real property
 Interest and dividends
 Alimony, maintenance or support payments payable to the debtor for the debtor's
   use or that of dependents listed above.
 Social security or other government assistance (Specify)



Pension or retirement income
Other monthly income (Specify)




TOTAL MONTHLY INCOME                                                                                                     $             2019.20           $             0.00
TOTAL COMBINED MONTHLY INCOME                                                      $              2019.20                (Report also on Summary of Schedules)

Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:
      Case 05-26778-AJM-7                        Doc 1           Filed 10/12/05              EOD 10/12/05 20:47:36                        Pg 25 of 36


               Form B6 J W (11-95)
In Spears       Jamie Lynn
re:                                                                                                Debtor(s) Case No.

               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly,
quarterly, semi-annually, or annually to show monthly rate.
     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
     labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                $            800.00
                                                             Is property insurance
Are real estate taxes included?         Yes       x  No      included?                              x
Utilities Electricity and Heating Fuel                                                                                         400.00
Water and Sewer
Telephone
Other
               cable                                                                                                                              46.00


Home maintenance (repairs and upkeep)
Food                                                                                                                                            400.00
Clothing
Laundry and dry cleaning
Medical and dental expenses
Transportation (not including car payments)                                                                                                      80.00
Recreation, clubs and entertainment, newspapers, magazines,                                                                                     100.00
etc.

Charitable contributions
Insurance (not deducted from wages or included in home mortgage payments)
       Homeowner's or renter's
       Life
       Health
       Auto                                                                                                                                       49.00
       Other




Taxes (not deducted from wages or included in home mortgage payments)
(Specify)


Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the
plan)
        Auto                                                                                                                   $
        Other




Alimony, maintenance, and support paid to others
Payments for support of additional dependents not living at your home
Regular expenses from operation of business, profession, or farm (attach detailed statement)
Other     daycare                                                                                                                               150.00



TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                   $              2025.00

(FOR CHAPTER 12 AND 13 DEBTORS ONLY)
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular interval.


A. Total projected monthly income
B. Total projected monthly expenses
C. Excess income (A minus B)                                                                                                   $                    0.00

D. Total amount to be paid into plan each                                                                                      $
                                                    (Interval)
          Case 05-26778-AJM-7                            Doc 1           Filed 10/12/05                 EOD 10/12/05 20:47:36                           Pg 26 of 36




                                                                   Southern                        Indiana
                  Spears Jamie Lynn



           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses is
         combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-
         employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's personal affairs.

           Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business with in the last 6 years, as defined below, also must complete
         Questions 19-25. If the answer to any question is "None" or the question is not applicable, mark the box labeled "None". If additional space is needed for the answer to
         any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



            "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business" for the
         purpose of this form if the debtor is or has been, within the two years immediately preceding the filing of this bankruptcy case, any of the following: an officer,
         director, managing executive, or person in control of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of which the
         debtor is an officer, director, or person in control; officers, directors, and any person in control of a corporate debtor and their relatives; affiliates or the debtor
         and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(30).




NONE
           01 INCOME FROM EMPLOYMENT OR OPERATION OF BUSINESS
            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from the beginning of
        this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A
        debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning
        and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter
        13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       AMOUNT                         SOURCES


   31200.00                            2003 income from employment



   31200.00                            2004 income from employment



   21400.00                            2005 income to date from employment
NONE
             Case 05-26778-AJM-7                          Doc 1          Filed 10/12/05                EOD 10/12/05 20:47:36                         Pg 27 of 36
X             02 INCOME OTHER THAN FROM EMPLOYMENT OR OPERATION OF BUSINESS
               State the amount of income received by the debtor other than employment, trade, profession, or operation of the debtor's business during the two years
           immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
           under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
           filed.)




NONE
           03A PAYMENTS TO CREDITORS

             List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within 90 days
           immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
           whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       AMOUNT STILL                      NAME AND ADDRESS OF CREDITOR                         PAYMENT DATES                         AMOUNT PAID
       OWNING


       0                                 landlord                                                Aug Sept Oct                      800.00
                                                                                                 05


NONE
X          03B PAYMENTS TO CREDITORS

              List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or were insiders. (Married
           debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
           separated and a joint petition is not filed.)




NONE
X          04A SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTION, GARNISHMENTS AND ATTACHMENTS

             List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding bankruptcy case. (Married debtors filing
           under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
           and a joint petition is not filed.)
NONE
         Case 05-26778-AJM-7                           Doc 1           Filed 10/12/05                EOD 10/12/05 20:47:36                           Pg 28 of 36
X      04B SUITS AND ADMINISTRATIVE PROCEEDINGS, EXECUTION, GARNISHMENTS AND ATTACHMENTS

           Describe all property that has been attached, garnished, or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




NONE
X         05 REPOSSESSIONS, FORECLOSURES, AND RETURNS

          List all property that has been repossessed by a creditor, sold at foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller, within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




NONE
X      06A ASSIGNMENTS AND RECEIVERSHIPS

            Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)




NONE
X      06B ASSIGNMENTS AND RECEIVERSHIPS

           List all property which has been in the hands of a custodian, receiver, or court appointed official within one year immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)




NONE
X         07 GIFTS
            List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to family
       members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient. (Married debtors
       filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)
NONE
          Case 05-26778-AJM-7                           Doc 1           Filed 10/12/05                 EOD 10/12/05 20:47:36                           Pg 29 of 36
X         08 LOSSES

           List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




NONE
          09 PAYMENTS RELATED TO DEBT COUNSELING OR BANKRUPTCY

           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt consolidation,
       relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of this case.


       NAME AND ADDRESS OF PAYEE                                          DATE OF PAYMENT                        AMOUNT OF MONEY OR
                                                                                                                 DESCRIPTION AND VALUE
                                                                                                                 OF PROPERTY

       Richard Batesky                                                    10-1-05                                   $100.00


NONE
X         10 OTHER TRANSFERS

           List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely or as
       security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




NONE
X         11 CLOSED FINANCIAL ACCOUNTS
          List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred within
       one year immediately preceding the commencement of this case. Include checking, saving, or other financial accounts, certificates of deposit, or other instruments;
       shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
NONE
         Case 05-26778-AJM-7                          Doc 1          Filed 10/12/05               EOD 10/12/05 20:47:36                        Pg 30 of 36
X         12 SAFE DEPOSIT BOX

           List each safe deposit or other box or depository in which the debt has or had securities, cash, or other valuables within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




NONE
X         13 SETOFFS

          List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)




NONE
X         14 PROPERTY HELD FOR ANOTHER PERSON

          List all property owned by another person that the debtor holds or controls.




NONE
          15 PRIOR ADDRESS OF DEBTOR

         If the debtor has moved within two years immediately preceding the commencement of this case, list all premises which the debtor occupied during that period
       and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.


       ADDRESS                                                         NAME USED                           DATES OF OCCUPANCY


       313 E. Central Greensburg                                       same                                   2003/2004


NONE
X         16 SPOUSES AND FORMER SPOUSES

         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New
       Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of the case, identify the name of the
       debtor's spouse and of any former spouse who resides with the debtor in the community property state.
NONE
         Case 05-26778-AJM-7                           Doc 1          Filed 10/12/05                EOD 10/12/05 20:47:36                           Pg 31 of 36
X      17A ENVIRONMENTAL INFORMATION

           List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable under or
       in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




NONE
X      17B ENVIRONMENTAL INFORMATION

          List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the governmental
       unit to which the notice was sent and the date of the notice.




NONE
X      17C ENVIRONMENTAL INFORMATION

          List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is or was a party.
       Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




NONE

X      18A NATURE, LOCATION, AND NAME OF BUSINESS
          If the debtor is an individual, list the names, addresses, taxpayer indentification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed
       professional within the six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
       securities within the six years immediately preceding the commencement of this case.
              If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately preceding the
       commencement of this case.
              If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of all
       businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
       commencement of this case.
NONE
        Case 05-26778-AJM-7                          Doc 1          Filed 10/12/05                EOD 10/12/05 20:47:36                           Pg 32 of 36
X      18B NATURE, LOCATION, AND NAME OF BUSINESS

        Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. Sec. 101.
      Case 05-26778-AJM-7                     Doc 1         Filed 10/12/05              EOD 10/12/05 20:47:36                      Pg 33 of 36

                 Form B8 (Official Form8) (12/03)
                                         Form 8. INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

UNITED STATES BANKRUPTCY COURT Southern                                                                 DISTRICT OF Indiana
In    Spears Jamie Lynn                                                                Debtor(s)              Case No.
re:                                                                                7                          Chapter
                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
      1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
      2. I intend to do the following with respect to the property of the estate which secures those consumer debts:
         a. Property to Be Surrendered.
         Description of property                             Creditor's name
         none




         b. Property to Be Retained.                                                               [Check any applicable statement.]
                                                                                                                                                       Debt will be
                                                                                                                                      Property will    reaffirmed
                                                                                                                           Property be redeemed        pursuant to
                                                                                                                           is claimed pursuant to 11   11 U.S.C.
 Description of Property                                        Creditor's name                                            as exempt U.S.C. § 722      § 524(c)
 none




 10-11-05           /s/Jamie Spears
 Date:             Signature of Debtor                                                      Signature of Co-Debtor

            CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (SEE 11 U.S.C. § 110)

    I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for
compensation, and that I have provided the debtor with a copy of this document.




Printed or Typed Name of Bankruptcy Petition Preparer                                                              Social Security No.
                                                                                                                  (Required by 11U.S.C. § 110(c))




  Address
  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:
  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form
  for each person.

  X
      Signature of Bankruptcy Petition Preparer                                                  Date

  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
  Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                           Southern               Indiana
Spears Jamie Lynn




                                                                                 400.00
                                                                                 100.00
                                                                                 300.00
         209.00




                                        /s/Richard Batesky,Jr.
    10-11-05                            Richard Batesky
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  Spears Jamie Lynn




  10-11-05                                       /s/Jamie Spears
                                                              Spears Jamie Lynn
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                   Form B6 Cont. W (12-03)


  In re:   Spears Jamie Lynn
                                                                                                        Debtor(s) Case No.


                               DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR



I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _________________________________ sheets, and
   that they are true and correct to the best of my knowledge, information, and belief.                       (Total shown on summary page plus 1.)




  Date                                                                                          /s/Jamie Spears
                                                                                    Signature___________________________________________________
                                                                                               Spears Jamie Lynn                     Debtor
  Date                                                                              Signature___________________________________________________
                                                                                                                            (Joint Debtor, if any)
                                                                                   (if joint case, both spouses must sign.)
__ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
           CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
  I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have
  provided the debtor with a copy of this document.



     Printed or Typed Name of Bankruptcy Petition Preparer                             Social Security Number
                                                                                     (Required by 11U.S.C. § 110(c).)

     Address
  Names and Social Security numbers of all other Individuals who prepared or assisted in preparing this document:




  If more than one person prepared this document, attach additional signed sheets confirming to the appropriate Official Form for each person.

 X
     Signature of Bankruptcy Petition Preparer                                                          Date
  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
  or imprisonment or both.
__ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

     I, the _________________________________________________ (the president or other officer or an authorized agent of the corporation
   or a member or an authorized agent of the partnership) of the ______________________________________________(corporation or partnership)
   named as debtor in this case,declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
   _____________________________sheets, and that they are true and correct to the best of my knowledge, information, and belief.
   (Total shown on summary page plus 1.)




   Date                                                                         Signature___________________________________________________


                                                                                                      (Print or type name of individual signing on behalf of debtor.)


                     (An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.)

                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years
                                                          or both. 18 U.S.C. § 152 and 3571.
